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                                                    U.S. Department of Justice

                                                    United States Attorney
                                                    District of Connecticut



                                                    Connecticut Financial Center               (203)821-3 700
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                                                    New Haven, Connecticut 06510               www.justice.gov/usaolct


                                                    April 22, 2024

Tracy Hayes, Esq.
Assistant Federal Defender                                              United States District Court
265 Church Street, Suite 702                                              District of Connecticut
New Haven, CT 06510                                                      FILED AT HARTFORD
                                                                           .        '-f /1..,''L               20 '2-'--1
       Re:     United States v. Hamilton C. Smith                          Din~ey, Clerk
                                                                        By.            <
               Case No. 3 :23-CR-70 (SVN)                                     Deputy Clerk

Dear Attorney Hayes:

      This letter confirms the plea agreement between your client, Hamilton C. Smith (the
"defendant"), and the United States Attorney's Office for the District of Connecticut (the
"Government") in this criminal matter.

THE PLEA AND OFFENSE

       In consideration for the benefits offered under this agreement, the defendant agrees to
waive his right to be indicted and to plead guilty to a one-count Information charging a violation
of 47 U.S.C. § 223(a)(l)(E).

      The defendant understands that, to be guilty of this offense, the following essential
elements must be satisfied:

       1. The defendant initiated telephone calls and text messages from the state of Connecticut
          to a state outside of Connecticut;

       2. The telephone calls and text messages made by the defendant were repeated;

       3. During the telephone calls and text messages, some communications ensued; and

       4. The defendant made the telephone calls and sent the text messages solely to harass
          the victim.
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THE PENALTIES

       Imprisonment

       This offense carries a maximum penalty of two years of imprisonment.

        Supervised Release

       In addition, the Court may impose a term of supervised release of not more than one year
to begin after any term of imprisonment. 18 U.S.C. § 3583.

       The defendant understands that, should he violate any condition of supervised release, he
may be required to serve a further term of imprisonment of up to one year per revocation pursuant
to 18 U.S.C. § 3583 with no credit for time already spent on supervised release.

       Fine

        This offense carries a maximum fine of $250,000. The defendant also is subject to the
alternative fine provision of 18 U.S.C. § 3571. Under this section, the maximum fine that may be
imposed on the defendant is the greatest of the following amounts: (1) twice the gross gain to the
defendant resulting from the offense; (2) twice the gross loss resulting from the offense; or
(3) $250,000.

       Special Assessment

       In addition, the defendant is obligated by 18 U.S.C. § 3013 to pay a special assessment of
$100 on each count of conviction. The defendant agrees to pay the sp~sessment to the Clede
of the Court on the day the gu.ilty r3lea i~ accepted.~ c.,, ~ -~               .tf0 ~
       Restitution

         In addition to the other penalties provided by law, the Court may also order that the
defendant make restitution under 18 U.S. C. § 3 663, and the Government reserves its right to seek
restitution on behalf of victims consistent with the provisions of§ 3 663. The scope and effect of
the order ofrestitution are set forth in the attached Rider Concerning Restitution. Restitution is
payable immediately unless otherwise ordered by the Court.

       Interest, penalties, and fines

         Unless otherwise ordered, should the Court impose a fine or restitution of more than $2,500
as part of the sentence, interest will be charged on the unpaid balance of the fine or restitution not
paid within 15 days after the judgment date. 18 U.S.C. § 3612(f). Other penalties and fines may
be assessed on the unpaid balance of a fine or restitution pursuant to 18 U.S.C. § 3572(h), (i) and
§ 3 6 l 2(g). The defendant reserves the right to request that the Court waive interest and penalties
as permitted by statute, and the Government reserves the right to oppose any such request.
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THE SENTENCING GUIDELINES

       Applicability

       The defendant understands thatthe Court is required to consider any applicable Sentencing
Guidelines as well as other factors enumerated in 18 U.S.C. § 3553(a) to tailor an appropriate
sentence in this case and is not bound by this plea agreement. The defendant agrees that the
Sentencing Guidelines determinations will be made by the Court, by a preponderance of the
evidence, based upon input from the defendant, the Government, and the United States Probation
Office. The defendant further understands that he has no right to withdraw his guilty plea if his
sentence or the Guidelines application is other than he anticipated, including if the sentence is
outside any of the ranges set forth in this agreement.

       Acceptance of Responsibility

        At this time, the Government agrees to recommend that the Court reduce by two levels the
defendant's adjusted offense level under§ 3El.l(a) of the Sentencing Guidelines, based on the
defendant's prompt recognition and affirmative acceptance of personal responsibility for the
offense. Moreover, should the defendant qualify for a decrease under§ 3El. l(a) and his offense
level determined prior to the operation of subsection ( a) is level 16 or greater, the Government will
file a motion with the Court pursuant to § 3El .1 (b) which recommends that the Court reduce the
defendant's Adjusted Offense Level by one additional level based on his prompt notification of
his intention to enter a plea of guilty. The defendant understands that the Court is not obligated to
accept the Government's recommendations on the reductions.

        The above-listed recommendations are conditioned upon the defendant's affirmative
demonstration ofacceptance ofresponsibility, by (1) truthfully admitting the conduct comprising
the offense(s) of conviction and truthfully admitting or not falsely denying any additional relevant
conduct for which the defendant is accountable under§ 1 B 1.3 of the Sentencing Guidelines, and
(2) disclosing to the United States Attorney's Office and the United States Probation Office a
complete and truthful financial statement detailing the defendant's financial condition. The
defendant expressly authorizes the United States Attorney's Office to obtain a credit report
concerning the defendant.

         In addition, the Government expressly reserves the right to seek denial of the adjustment
for acceptance ofresponsibility if the defendant engages in any acts, unknown to the Government
at the time of the signing of this agreement, which (1) indicate thatthe defendant has not terminated
or withdrawn from criminal conduct or associations (§ 3El .1 of the Sentencing Guidelines);
(2) could provide a basis for an adjustmentforobstrnctingorimpedingthe administration ofjustice
(§ 3 Cl. I of the Sentencing Guidelines); or (3) constitute a violation of any condition ofrelease.
Moreover, the Government reserves the right to seek denial of the adjustment for acceptance of
responsibility if the defendant seeks to withdraw his guilty plea or takes a position at sentencing
or otherwise, which, in the Government's assessment, is inconsistent with affirmative acceptance
of personal responsibility. The defendant understands that he may not withdraw his plea of guilty
if, for the reasons explained above, the Government does not make one or both of the
recommendations or seeks denial of the adjustment for acceptance of responsibility.
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        Stipulation

         Pursuant to § 6B 1.4 of the Sentencing Guidelines, the defendant and the Government have
entered into the attached stipulation, which is a part of this plea agreement. The defendant
understands that this stipulation does not set forth all of the relevant conduct and characteristics
that may be considered by the Court for purposes of sentencing. The defend ant understands that
this stipulation is not binding on the Court. The defendant also understands that the Government
and the United States Probation Office are obligated to advise the Court of any additional relevant
facts that subsequently come to their attention.

       Guidelines Stipulation

       The parties agree that Guidelines Manual in effect on the date of sentencing is used to
determine the applicable Guidelines range.

       The parties further agree that the defendant's base offense level under U.S.S.G.
§ 2A6.l(a)(l) is 12. That level is increased by two under U.S.S.G. § 2A6.l(b)(2) because the
offense involved more than two threats.

        It is the Government's position that six additional levels are added under U.S.S.G.
§ 3Al .2(b) because the victims were a government officer or employee and members of the
immediate family of that officer, the offense of conviction was motivated by such status, and the
applicable Chapter Two guideline is from Chapter Two, Part A (Offenses Against the Person),
resulting in an adjusted offense level of 20. In this scenario, three levels are subtracted under
U.S.S.G. § 3El .1 for acceptance ofresponsibility, as noted above, resulting in a total offense level
of 17.

       It is the defendant's position that U.S.S.G. § 3Al .2(b) is not applicable and thus the
adjusted offense level is 14. In this scenario, two levels are subtracted under U.S.S.G. § 3El.1 for
acceptance of responsibility, as noted above, resulting in a total offense level of 12.

       Based on an initial assessment, the patties agree that the defendant falls within Criminal
History Category I. The parties reserve the right to recalculate the defendant's Criminal History
Category, and corresponding sentencing ranges if this initial assessment proves inaccurate.

        It is the Government's position that a total offense level of 17, assuming placement in
Criminal History Category I, would result in a Guidelines range of 24 to 30 months of
imprisonment (sentencing table), which by operation of the statutory maximum sentence becomes
24 months of imprisonment, and a fine range of$10,000 to $95,000 (U.S.S.G. § 5El.2(c)(3)). Itis
the defendant's position that a total offense level of 12, assuming placement in Criminal History
Category I, would result in a Guidelines range of 10 to 16 months of imprisonment (sentencing
table) and a fine range of $5,500 to $55,000 (U.S.S.G. § 5El .2(c)(3)). Under either scenario, the
defendant also is subject to a Guidelines term of supervised release of one year. U.S.S.G. § 5Dl.2.

       The defendant reserves his right to seek a departure or a non-Guidelines sentence and
reserves the right to object to a departure or a non-Guidelines sentence.
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        The Government defers to the Court regarding the imposition of a term of imprisonment
However, the Government intends to advocate that with respect to any term of supervised release
or probation, in addition to the mandatory and standard conditions, the Court also should impose
special conditions to include intensive inpatient mental health treatment and/or outpatient mental
health treatment.

      The defendant reserves the right to argue that a fine is not appropriate in this case, and 1he
Government reserves the right to argue that a fine is appropriate in this case.

       The defendant understands that the Court is not bound by this agreement on the Guidelines
ranges specified above. The defendant further understands that he will not be permitted to
withdraw the guilty plea if the Court imposes a sentence outside any of the ranges set forth in this
agreement.

         In the event the United States Probation Office or the Court contemplates any sentencing
calculations different from those stipulated by the parties, the parties reserve the right to respond
to any inquiries and make appropriate legal arguments regarding the proposed alternate
calculations. Moreover, the parties reserve the right to defend any sentencing determination, even
if it differs from that stipulated by the parties, in any post-sentencing proceeding.

       lnfo1mation to the Court

          The parties reserve their rights to address the Court with respect to an appropriate sentence
to be imposed in this case. Moreover, the Government will discuss the facts of this case, including
information regarding the defendant's background and character, 18 U.S.C. § 3 661, with the
United States Probation Office and will provide the Probation Officer with access to material in
its file, with the exception of grand jury material.

WAIVER OF RIGHTS

      The defendant acknowledges and agrees that he is knowingly, intelligently, and voluntarily
waiving the following rights:

       Waiver of Right to Indictment

        The defendant understands that he has the right to have the facts of this case presented to a
federal grand jury, consisting of between sixteen and twenty-three citizens, twelve of whom would
have to find probable cause to believe that he committed the offense set forth in the information
before an indictment could be returned. The defendant acknowledges that he is waiving his right
to be indicted.

       Waiver of Trial Rights and Consequences of Guilty Plea

       The defendant understands that he has the right to be represented by an attorney at every
stage of the proceeding and, if necessary, one will be appointed to represent him.
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        The def end ant understands that he has the right to plead not guilty or to persist in that plea
if it has already been made, the right to a public trial, the right to be tried by a jury with the
assistance of counsel, the right to confront and cross-examine the witnesses against him, the right
not to be compelled to incriminate himself, the right to testify and present evidence, and the right
to compel the attendance of witnesses to testify in his defense. The defendant understands that by
pleading guilty he waives those rights and that, if the plea of guilty is accepted by the Court, there
will not be a further trial of any kind.

       The defend ant understands that, if he pleads guilty, the Court may ask him questions about
each offense to which he pleads guilty, and if he answers those questions falsely under oath, on
the record, and in the presence of counsel, his answers may later be used against him in a
prosecution for perjury or making false statements.

        Waiver of Statute of Limitations

        The defendant agrees that, should the conviction following the defendant's guilty plea be
vacated for any reason, then any prosecution that is not time-baned by the applicable statute of
limitations on the date of the signing of this plea agreement (including any indictment or counts
the Government has agreed to dismiss at sentencing pursuant to this plea agreement) may be
commenced or reinstated against the defendant, notwithstanding the expiration of the statute of
limitations between the signing of this plea agreement and the commencement or reinstatement of
such prosecution. The defendant agrees to waive all defenses based on the statute of limitations
with respect to any prosecution that is not time-barred on the date the plea agreement is signed.

        Waiver of Right to Challenge Conviction

         The defendant acknowledges that under certain circumstances he is entitled to challenge
his conviction. By pleading guilty, the defendant waives his right to appeal or collaterally attack
his conviction in any proceeding, including but not limited to a motion under 28 U.S.C. § 2255
and/or§ 2241. In addition to any other claims the defendant might raise, the defendant waives the
right to challenge the conviction based on (1) any non-jurisdictional defects in the proceedings
before entry of this plea, (2) a claim that the statute(s) to which the defendant is pleading guilty is
unconstitutional, and (3) a claim that the admitted conduct does not fall within the scope of the
statute. This waiver does not preclude the defendant from raising a claim of ineffective assistance
of counsel in an appropriate forum.

        Waiver of Right to Appeal or Collaterally Attack Sentence

        The defendant acknowledges that under certain circumstances, the defendant is entitled to
challenge his sentence. In consideration for the benefits offered under this agreement, the
defendant agrees not to appeal or collaterally attack the sentence in any proceeding, including but
not limited to a motion under 28 U.S.C. § 2255 and/or§ 2241, if that sentence does not exceed24
months of imprisonment, one year of supervised release, a $100 special assessment, a $95,000
fine, and restitution as imposed by the Court, even if the Court imposes such a sentence based on
an analysis different from that specified above. Similarly, the defendant will not challenge any
condition of supervised release imposed by the Court for which he had notice and an opportunity
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to object. The Government and the defendant agree that this waiver applies regardless of whether
the term of imprisonment is imposed to run consecutively to or concurrently with, in whole or in
part, the undischarged portion of any other sentence that has been imposed on the defendant at the
time of sentencing in this case. Furthermore, the parties agree that any challenge to the defendant's
sentence that is not foreclosed by this provision will be limited to that portion of the sentencing
calculation that is inconsistent with ( or not addressed by) this waiver. This waiver does not
preclude the defendant from raising a claim of ineffective assistance of counsel in an appropriate
forum.

        Waiver of Challenge to Plea Based on Immigration Consequences

        The defendant understands that pleading guilty may have consequences with respect to his
immigration status if the defendant is not a citizen of the United States. Under federal law, non-
citizens are subject to removal for a broad range of crimes, including the offense(s) to which the
defendant is pleading guilty. Likewise, if the defendant is a naturalized citizen of the United States,
pleading guilty may result in denaturalization and removal. Removal, denaturalization, and other
immigration consequences are the subject of a separate proceeding, however, and the defendant
understands that no one, including the defendant's attorney or the district court, can predict to a
certainty the effect of his conviction on his immigration status. The defendant nevertheless affnms
that he wants to plead guilty regardless of any immigration consequences that the guilty plea may
entail, even if the consequence is automatic removal from the United States.

        The defendant understands that he is bound by the guilty plea regardless of the immigration
consequences of the plea. Accordingly, the defendant waives any and all challenges to the guilty
plea and to the sentence based on those consequences, and agrees not to seek to withdraw the guilty
plea, orto file a direct appeal or any kind of collateral attack challenging the guilty plea, conviction,
or sentence, based on the immigration consequences of the guilty plea, conviction, or sentence.
This waiver does not preclude the defendant from raising a claim of ineffective assistance of
counsel in the appropriate forum.

ACKNOWLEDGMENT OF GUILT AND VOLUNTARINESS OF PLEA

        The defendant acknowledges that he is entering into this agreement and is pleading guilty
freely and voluntarily because the defendant is guilty. The defendant further acknowledges that he
is entering into this agreementwithoutreliance upon any discussions between the Government and
the defendant ( other than those described in the plea agreement letter), without promise of benefit
of any kind ( other than the concessions contained in the plea agreement letter), and without threats,
force, intimidation, or coercion of any kind. The defendant further acknowledges his understanding
of the nature of the offense to which the defendant is pleading guilty, including the penalties
provided by law. The defendant also acknowledges his complete satisfaction with the
representation and advice received from his undersigned attorney. The defendant and his
undersigned counsel are unaware of any conflict of interest concerning counsel's representation of
the defendant in the case.
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       The defendant acknowledges that he is not a "prevailing party" within the meaning of
Public Law 105-119, section 617 ("the Hyde Amendment") with respect to the count of conviction
or any other count or charge that may be dismissed pursuant to this agreement. The defendant
voluntarily, knowingly, and intelligently waives any rights the defendant may have to seek
attorney's fees and other litigation expenses under the Hyde Amendment.

SCOPE OF THE AGREEMENT

       The defendant acknowledges that this agreement is limited to the undersigned parties and
cannot bind any other federal authority, or any state or local authority. The defendant
acknowledges that no representations have been made to him with respect to any civil or
administrative consequences that may result from this plea of guilty because such matters are
solely within the province and discretion of the specific administrative or governmental entity
involved. Finally, the defendant acknowledges thatthis agreementhas been reached without regard
to any civil tax matters that may be pending or which may arise involving the defendant.

COLLATERAL CONSEQUENCES

        The defendant understands that he will be adjudicated guilty of each offense to which the
defendant has pleaded guilty and will be deprived of certain rights, such as the right to hold public
office, to serve on a jury, to possess firearms and ammunition, and, in some states, the right to
vote. Further, the defendant understands that if he is not a citizen of the United States, a plea of
guilty may result in removal from the United States, denial of citizenship, and denial of admission
to the United States in the future. The defendant understands that pursuant to section 203 (b) of the
Justice For All Act, the Federal Bureau of Prisons or the United States Probation Office will collect
a DNA sample from the defendant for analysis and indexing. Finally, the defendant understands
that the Government reserves the rightto notify any state or federal agency by which the defendant
is licensed, or with which the defendant does business, as well as any current or future employer
of the fact of his conviction.

SATISFACTION OF FEDERAL CRIMINAL LIABILITY; BREACH

         The defendant's guilty plea, if accepted by the Court, will satisfy the federal criminal
liability of the defendant in the District of Connecticut as a result of the defendant's participation
in the making of harassing phone calls, which forms the basis of the substitute Information in this
case. After sentencing, the Government will move to dismiss the original indictment because the
conduct underlying the dismissed counts will have been taken into account in determining the
appropriate sentence.

        The defendant understands that if, before sentencing, he violates any term or condition of
this agreement, engages in any criminal activity, or fails to appear for sentencing, the Government
may void all or part of this agreement. If the agreement is voided in whole or in part, the defendant
will not be permitted to withdraw the guilty plea.
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        NO OTHER PROMISES

                The defend ant acknowledges that no other promises, agreements, or conditions have been
        entered into other than those set forth in this plea agreement, and none will be entered into unless
        set forth in writing, signed by all the patties.

               This letter shall be presented to the Court, in open court, and filed in this case.

                                                      Very truly yours,

                                                      VANESSA ROBERTS AVERY
                                                      UNITED STATES TTORNEY




                                                      ASSISTANT UNITED STATES ATTORNEY


               The defendant certifies that he has read this plea agreement letter and its attachment(s) or
        has had it read or translated to him, that he has had ample time to discuss this agreement and its
        attachment(s) with counsel and that he fully understands and accepts its terms.



           ~~
        HAMILTON CLARK SMITH                                 ~
                                                             Date
        The Defendant

               I have thoroughly read, reviewed, and explained this plea agreement and its attachment(s)
        to my client w~dvises me that he understands and accepts its terms.


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                                                             Datr         f
                 AYES, ESQ.
---...A-tt6iney for the Defendant
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            STIPULATION OF OFFENSE CONDUCT AND RELEVANT CONDUCT

           The defendant and the Government stipulate to the following offense conduct and relevant
     conduct that give rise to the defendant's agreement to plead guilty to the Information:

        1. From on or about January 9, 2023 through on or about January 11, 2023, the defendant,
            Hamilton C. Smith, utilizing a telecommunications device while in Connecticut, sent a
            series of six text messages to victim, E. S., a Deputy United States Marshal for the District
            of Connecticut. Some of the messages sent to E.S. read as follows:

                •   "I'm gonna track you down, even knowing you couldn't track me down with the
                    help of the government. We will meet face to face, I can't wait."

                •   "Better have your service weapon because I won't have any weapon other than my
                    brain and training of 50 years. Your gonna need your firearm when we meet in the
                    future, and you will still loose against me unarmed. Get ready and warn all losers
                    like you in the law enforcement field, yup you fucked with the wrong' good citizen'
                    guy that pays your paycheck fucktard"

               •    "You ready for me? Cause I'm gonna find you and beat your ass to the point of no
                    return, you're a pathetic pos and you will be taught a lesson, I'm gonna beat you
                    till your near Death! It's nor a threat it's a promise loser, lock your doors pussy boy
                    I am coming for your ass!"

                •   "Your done, you fucked with the wrong person, say goodbye to those you love,
                    your life is now much target fuck tard! Don't even have the balls to call me back?
                    Your a little birch that's gonna catch a serious beating! Yea you so called el vis you
                    better grow eyes in the back of your head! I may even make you pay by hurting
                    your family members, because your scum, be scared little man"

        2. In addition, from on or about January 10, 2023 through on or about January 11, 2023, the
           defendant, Hamilton C. Smith, utilizing a telecommunications device while in Connecticut,
           placed three calls to E.S. and left three voicemails for E.S. The voicemail messages left by
           Smith for E.S. are transcribed as follows:

                •   "Hey dirtbag, how are ya? Uh .. seems uh um ... Your not ready for me. Um ...
                    Hopefully your doors are locked. Um .. I'm tracking you down motherfucker.Yeah,
                    yeah me. Hamilton C Smith, I'm tracking you down you fucking piece of shit I'm
                    going to fuck your ass up. Alright. You better have your fucking service weapon
                    ifif. You know what, yournotevenarealfuckingmarshal. Iknowthatnow. Cause
                    cause you haven't contacted me. I have actually contacted the uh marshal service.
                    You don't exist you fucking piece of shit. I'm going to track you down. You better
                    hope your fucking doors are locked and your windows are locked cause I'm
                    coming for you! Motherfucker! I'm coming for you! I hope your ready. You
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               fucking weak little piece of fucking shit. I am going to tear your throat out
               motherfucker. You ready? I hope so"

           •   "Yeah pussyboy what wha-how come you're not answering your phone now? Mr.
               Marshal. Huh? I found out about you. Motherfucker. I'm gonna track you down,
               I'm gonna beat your fuckin ass. 'Til you're an inch ... maybe half an inch ... from-
               from-from your life. I will fuckin beat the living shit out of you motherfucker. You
               better lock your doors. You better fuckin lock your doors, and you better have a
               fuckin weapon ... because nothin 's gonna stop me from beatin your ass. You better
               be a good fuckin shot too. Right between the eyes, that's the only way you're gonna
               stop me. You fuckin pussy. Call me back! Why don't you call me back? Because
               you 're not real, you 're not a Marshal. You 're a fucking scumbag. I will track you
               down ... and I will fucking beat your ass to a - half an inch of your life. I will put
               you in a hospital motherfucker you watch. You watch"

          •    "Yeah, you ain't no marshal dude, and-and, and not only that why do you not call
               me back? Huh? You're supposed to help me with- with- with the problems that
               I'm having. You seriously fucked up motherfucker. I'm - uh - dude, I'm gonna
               find you. I'm gonna find you and I am gonna fucking beat you until you 're
               unconscious. Okay. I will smash your fucking head on the pavement until your
               brain cracks like a fucking egg. Okay. And then I'm gonna fucking rip your eyes
               out so you '11 never be ab le to see again. I will tear them out with my fucking fingers
               and I - and- and if it comes to it, I will bite your fucking Adam's apple out and
               spit it in your fucking face. You're done pal. You're done. I'm coming for you. I
               hope you never fucking sleep ever - ever fuckings leep knowing I'm coming for
               you, and I'll fuck with your family too. I don't care if you have kids, a wife, uh-
               um - nephews, nieces- okay, I'll fuck with them too because you are a fucking
               scumbag.You 're gonna pay a serious fucking price you loser.You don't even have
               the balls to call me back. [coughs] You 're gonna die motherfucker. You're gonna
               die and I'm gonna make sure of it"

   3. E.S. received each of the text message communications and the voice message
      communications while in Maryland, on assignment for work as a Deputy United States
      Marshal.

   4. Smith sent the numerous text messages and repeated telephone calls solely to harass E.S.
'
    •   w
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                   This written stipulation is part of the plea agreement. The defendant and the Government
            reserve their right to present additional offense conduct and relevant conduct to the Court in
            connection with sentencing.



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    zHXM!LTONC. sMiii
                                                    ~L_
            The Defendant                              ASSISTANT UNITED STATES ATTORNEY




             ttomey for the Defendant
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                                    RIDER CONCERNING RESTITUTION

                The Court may order that the defendant make restitution under 18 U.S.C. § 3663 as
         follows:

         1. If the offense resulted in damage to orloss or destruction of property of a victim of the offense:

           A.    Return the property to the owner of the property or someone designated by the owner; or

           B.    If return of the property is impossible, impracticable, or inadequate, pay an amount equal
                 to:

                 The greater of -
                 (I) the value of the property on the date of the damage, loss, or destruction; or

                 (II) the value of the property on the date of sentencing, less the value as of the date the
                      property is returned.

         2. In the case of an offense resulting in bodily injury to a victim -
             A. Pay an amount equal to the costs of necessary medical and related professional services
                and devices related to physical, psychiatric, and psychological care; including non-medical
                care and treatment rendered in accordance with a method of healing recognized by the law
                of the place of treatment;
             B. Pay an amount equal to the cost of necessary physical and occupational therapy and
                rehabilitation; and
             C. Reimburse the victim for income lost by such victim as a result of such offense.
         3. In the case of an offense resulting in bodily injury that results in the death of the victim, pay
            an amount equal to the cost of necessary funeral and related services.

         4. In any case, reimburse the victim for lost income and necessary child care, transportation, and
            other expenses incurred during participation in the investigation or prosecution of the offense
            or attendance at proceedings related to the offense.

                 The order of restitution has the effect of a civil judgment against the defendant. In addition
         to the Court-ordered restitution, the Court may order that the conditions of its order of restitution
         be made a condition of probation or supervised release. Failure to make restitution as ordered may
         result in a revocation of probation, 18 U.S.C. § 3565, or a modification of the conditions of
         supervised release, 18 U.S.C. § 3583( e ). Failure to pay restitution also may result in the defendant
         being held in contempt, or the defendant's re-sentencing to any sentence which might originally
         have been imposed by the Court. See 18 U.S.C. §§ 3613A, 3614. Moreover, in the event of default
         notwithstanding any installment schedule for the payment of restitution, the Court may order
         payment of the entire amount of restitution due within 3 0 days after notification of the default
         subject to the provisions of 18 U.S.C. §§ 3572(i) and 3613A.
